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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK


 In re
                                                Chapter 11
 PAR PHARMACEUTICAL, INC.,
                                                Case No. 22-22546 (___)
                Debtor.

 Fed. Tax Id. No. XX-XXXXXXX
 In re
                                                Chapter 11
 ACTIENT PHARMACEUTICALS LLC,
                                                Case No. 22-22547 (___)
                Debtor.

 Fed. Tax Id. No. XX-XXXXXXX
 In re
                                                Chapter 11
 70 MAPLE AVENUE, LLC,
                                                Case No. 22-22548 (___)
                Debtor.

 Fed. Tax Id. No. XX-XXXXXXX
 In re
                                                Chapter 11
 ENDO INTERNATIONAL plc,
                                                Case No. 22-22549 (___)
                Debtor.

 Fed. Tax Id. No. XX-XXXXXXX
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In re
                                              Chapter 11
ENDO VENTURES LIMITED,
                                              Case No. 22-22550 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
ANCHEN INCORPORATED,
                                              Case No. 22-22552 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
GENERICS INTERNATIONAL (US), INC.,
                                              Case No. 22-22554 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ANCHEN PHARMACEUTICALS, INC.,
                                              Case No. 22-22556 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
DAVA PHARMACEUTICALS, LLC,
                                              Case No. 22-22558 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO PAR INNOVATION COMPANY,
LLC,
                                              Case No. 22-22561 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
GENERICS BIDCO I, LLC,
                                              Case No. 22-22563 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
INNOTEQ, INC.,
                                              Case No. 22-22565 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
JHP ACQUISITION, LLC,
                                              Case No. 22-22567 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
JHP GROUP HOLDINGS, LLC,
                                              Case No. 22-22569 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
KALI LABORATORIES, LLC,
                                              Case No. 22-22572 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
MOORES MILL PROPERTIES L.L.C.,
                                              Case No. 22-22574 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
PAR PHARMACEUTICAL COMPANIES,
INC.,
                                              Case No. 22-22576 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
PAR PHARMACEUTICAL HOLDINGS,
INC.,
                                              Case No. 22-22578 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
PAR STERILE PRODUCTS, LLC,
                                              Case No. 22-22580 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
PAR, LLC,
                                              Case No. 22-22582 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
QUARTZ SPECIALTY
PHARMACEUTICALS, LLC,
                                              Case No. 22-22584 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
VINTAGE PHARMACEUTICALS, LLC,
                                              Case No. 22-22586 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ACTIENT THERAPEUTICS LLC,
                                              Case No. 22-22588 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ASTORA WOMEN’S HEALTH IRELAND
LIMITED,
                                              Case No. 22-22591 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ASTORA WOMEN’S HEALTH, LLC,
                                              Case No. 22-22594 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
AUXILIUM INTERNATIONAL
HOLDINGS, LLC,
                                              Case No. 22-22596 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
AUXILIUM PHARMACEUTICALS, LLC,
                                              Case No. 22-22598 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
AUXILIUM US HOLDINGS, LLC,
                                              Case No. 22-22601 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
BERMUDA ACQUISITION                           Chapter 11
MANAGEMENT LIMITED,
                                              Case No. 22-22603 (___)

               Debtor.
Fed. Tax Id. No. N/A




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In re
                                              Chapter 11
BIOSPECIFICS TECHNOLOGIES LLC,
                                              Case No. 22-22605 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
BRANDED OPERATIONS HOLDINGS,
INC.,
                                              Case No. 22-22608 (___)
               Debtor.

Fed. Tax Id. No. 85‐3936945
In re
                                              Chapter 11
DAVA INTERNATIONAL, LLC,
                                              Case No. 22-22610 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO AESTHETICS LLC,
                                              Case No. 22-22613 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO BERMUDA FINANCE LIMITED,
                                              Case No. 22-22615 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO DESIGNATED ACTIVITY
COMPANY,
                                              Case No. 22-22551 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO EUROFIN UNLIMITED
COMPANY,
                                              Case No. 22-22553 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO FINANCE IV UNLIMITED
COMPANY,
                                              Case No. 22-22555 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO FINANCE LLC,
                                              Case No. 22-22557 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO FINANCE OPERATIONS LLC,
                                              Case No. 22-22559 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO FINCO INC.,
                                              Case No. 22-22560 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO GENERICS HOLDINGS, INC.,
                                              Case No. 22-22562 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO GLOBAL AESTHETICS LIMITED,
                                              Case No. 22-22564 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO GLOBAL BIOLOGICS LIMITED,
                                              Case No. 22-22566 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO GLOBAL DEVELOPMENT
LIMITED,
                                              Case No. 22-22568 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO GLOBAL FINANCE LLC,
                                              Case No. 22-22570 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO GLOBAL VENTURES,
                                              Case No. 22-22571 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO HEALTH SOLUTIONS INC.,
                                              Case No. 22-22573 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO INNOVATION VALERA, LLC,
                                              Case No. 22-22575 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO IRELAND FINANCE II LIMITED,
                                              Case No. 22-22577 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO LLC,
                                              Case No. 22-22579 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO LUXEMBOURG FINANCE
COMPANY I S.à r.l.,
                                              Case No. 22-22581 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO LUXEMBOURG HOLDING
COMPANY S.à.r.l.,
                                              Case No. 22-22583 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO LUXEMBOURG
INTERNATIONAL FINANCING S.à.r.l.,
                                              Case No. 22-22585 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
ENDO MANAGEMENT LIMITED,
                                              Case No. 22-22587 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO PHARMACEUTICALS FINANCE
LLC,
                                              Case No. 22-22589 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO PHARMACEUTICALS INC.,
                                              Case No. 22-22590 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO PHARMACEUTICALS
SOLUTIONS INC.,
                                              Case No. 22-22592 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO PHARMACEUTICALS VALERA
INC.,
                                              Case No. 22-22593 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO PROCUREMENT OPERATIONS
LIMITED,
                                              Case No. 22-22595 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX



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In re
                                              Chapter 11
ENDO TOPFIN LIMITED,
                                              Case No. 22-22597 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO U.S. INC.,
                                              Case No. 22-22599 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO US HOLDINGS LUXEMBOURG I
S.à.r.l.,
                                              Case No. 22-22600 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO VENTURES AESTHETICS
LIMITED,
                                              Case No. 22-22602 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
ENDO VENTURES BERMUDA LIMITED,
                                              Case No. 22-22604 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO VENTURES CYPRUS LIMITED,
                                              Case No. 22-22606 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
GENERICS INTERNATIONAL (US) 2,
INC.,
                                              Case No. 22-22607 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
GENERICS INTERNATIONAL
VENTURES ENTERPRISES LLC,
                                              Case No. 22-22609 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
HAWK ACQUISITION IRELAND
LIMITED,
                                              Case No. 22-22611 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
KALI LABORATORIES 2, INC.,
                                              Case No. 22-22612 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
LUXEMBOURG ENDO SPECIALTY
PHARMACEUTICALS HOLDING I
                                              Case No. 22-22614 (___)
S.à r.l.,

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
PALADIN LABS CANADIAN HOLDING
INC.,
                                              Case No. 22-22616 (___)
               Debtor.

No Fed. Tax Id. No. N/A

In re
                                              Chapter 11
PALADIN LABS INC.,
                                              Case No. 22-22617 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
PAR LABORATORIES EUROPE, LTD.,
                                              Case No. 22-22618 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re

                                              Chapter 11
PAR PHARMACEUTICAL 2, INC.,
                                              Case No. 22-22619 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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 In re
                                                      Chapter 11
 SLATE PHARMACEUTICALS, LLC,
                                                      Case No. 22-22620 (___)
                 Debtor.

 Fed. Tax Id. No. XX-XXXXXXX

 In re
                                                      Chapter 11
 TIMM MEDICAL HOLDINGS, LLC,
                                                      Case No. 22-22621 (___)
                 Debtor.

 Fed. Tax Id. No. XX-XXXXXXX

             MOTION OF THE DEBTORS FOR ENTRY OF AN ORDER
        (I) DIRECTING JOINT ADMINISTRATION OF THE CHAPTER 11
       CASES PURSUANT TO BANKRUPTCY RULE 1015(b); (II) WAIVING
    THE REQUIREMENTS OF SECTION 342(c)(1) OF THE BANKRUPTCY CODE
    AND BANKRUPTCY RULE 2002(n); AND (III) GRANTING RELATED RELIEF

                Endo International plc and its debtor affiliates, as debtors and debtors in possession

(collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”),

respectfully represent in support of this motion (this “Motion”) as follows:

                                      RELIEF REQUESTED

                1.      By this Motion, and pursuant to sections 105(a) and 342(c)(1) of title 11 of

the United States Code (the “Bankruptcy Code”), Rules 1015(b) and 2002(n) of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 9013-1(b) of the Local Bankruptcy

Rules for the Southern District of New York (the “Local Rules”), the Debtors seek entry of an

order, substantially in the form attached hereto as Exhibit A (the “Proposed Order”), (a) directing

joint administration of the Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b), (b) waiving the

requirements of section 342(c)(1) of the Bankruptcy Code and Bankruptcy Rule 2002(n), and

(c) granting related relief.

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                                 JURISDICTION AND VENUE

               2.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334, and the Amended Standing Order of Reference M-431, dated January 31, 2012

(Preska, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b).

               3.      Venue of the Chapter 11 Cases and this Motion is proper in this district

under 28 U.S.C. §§ 1408 and 1409.

                                         BACKGROUND

I.     General Background

               4.      On the date hereof (the “Petition Date”), the Debtors each commenced a

case by filing a petition for relief under chapter 11 of the Bankruptcy Code.

               5.      The Debtors are authorized to continue to operate their businesses and

manage their properties as debtors and debtors in possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code.

               6.      No trustee, examiner, or statutory committee of creditors has been

appointed in the Chapter 11 Cases.

               7.      Additional information regarding the Debtors, including their business

operations, their corporate and capital structure, and the events leading to the commencement of

the Chapter 11 Cases is set forth in the Declaration of Mark Bradley in Support of Chapter 11

Petitions and First Day Papers (the “First Day Declaration”) filed contemporaneously herewith

and incorporated herein by reference.

                                      BASIS FOR RELIEF

               8.      Bankruptcy Rule 1015(b) provides, in relevant part, that “[i]f . . . two or

more petitions are pending in the same court by or against . . . a debtor and an affiliate, the court

may order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). The Debtors consist
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of 75 “affiliates” as that term is defined in section 101(2) of the Bankruptcy Code and Bankruptcy

Rule 1015(b).        Operationally, the Debtors function in complementary respects within their

respective business lines—Branded Pharmaceuticals, Sterile Injectables, Generic Pharmaceuticals,

and International Pharmaceuticals (each as defined and further described in the First Day

Declaration)—to run their businesses as a specialty pharmaceutical company committed to

providing high quality and effective pharmaceutical products. This Court, therefore, is authorized

to consolidate the Debtors’ cases for procedural purposes.

                9.       The First Day Declaration establishes that joint administration is warranted

here in view of the benefits it will afford to the Court, the Debtors, and all parties-in-interest.

Further, joint administration will not adversely affect the Debtors’ respective constituencies

because this Motion seeks only administrative combination, and not substantive consolidation of

the Debtors’ estates. Thus, the Debtors submit that joint administration of the Chapter 11 Cases

is in the best interests of their estates, their creditors, and all parties-in-interest.

                10.      Moreover, the joint administration of the Chapter 11 Cases will permit the

Clerk of the Court (the “Clerk”) to use a single general docket for each of the Debtors’ Chapter 11

Cases and to combine notices to creditors and other parties-in-interest of the Debtors’ respective

estates. Joint administration will therefore ease the burden on the United States Trustee for the

Southern District of New York (the “U.S. Trustee”) in supervising the Chapter 11 Cases.

                11.      No party will be prejudiced by the relief requested in this Motion.

Specifically, the relief sought herein is solely procedural and is not intended to affect substantive

rights. Each creditor and other party-in-interest will maintain whatever rights it has against the

particular estate in which it allegedly has a claim or right.




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                     12.      Finally, the Debtors submit that use of the simplified caption, without

reference to the Debtors’ tax identification numbers, addresses, and previous names, will eliminate

cumbersome and confusing procedures and ensure uniformity of pleading identification. Other

case-specific information will be listed in the petitions for the respective Debtors and such petitions

are publicly available, including on the restructuring website maintained by the Debtors that is free

to access, and will be provided by the Debtors upon request. Therefore, the Debtors submit the

policies behind the requirements of section 342(c)(1) of the Bankruptcy Code and Bankruptcy

Rules 1005 and 2002(n) have been fully satisfied.

                     13.      In furtherance of the foregoing, the Debtors request that the official caption

to be used by all parties in all pleadings in the jointly administered cases be as follows:

     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK


    In re
                                                                  Chapter 11
    ENDO INTERNATIONAL plc, et al.,
                                                                  Case No. 22-22549 (___)
                      Debtors.1




                     14.      The Debtors further request the Court’s direction that a notation

substantially similar to the following language be entered on the docket maintained by the Clerk

of the Court to reflect the joint administration of the Chapter 11 Cases:



1
            The last four digits of Debtor Endo International plc’s tax identification number are 3755. Due to the large
            number of debtors in these chapter 11 cases, a complete list of the debtor entities and the last four digits of
            their federal tax identification numbers is not provided herein. A complete list of such information may be
            obtained on the website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/Endo.
            The location of the Debtors’ service address for purposes of these chapter 11 cases is: 1400 Atwater Drive,
            Malvern, PA 19355.

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           An order has been entered in accordance with Rule 1015(b) of the Federal Rules of
           Bankruptcy Procedure directing the procedural consolidation and joint
           administration of the chapter 11 cases of Endo International plc and its affiliates
           that have concurrently commenced chapter 11 cases. The docket in the chapter 11
           case of Endo International plc (3755), Case No. 22-22549 (___), should be
           consulted for all matters affecting the chapter 11 cases of: 70 Maple Avenue,
           LLC (1491); Actient Pharmaceuticals LLC (7232); Actient Therapeutics
           LLC (2019); Anchen Incorporated (8760); Anchen Pharmaceuticals, Inc. (9179);
           Astora Women’s Health Ireland Limited (5829); Astora Women’s Health,
           LLC (0427); Auxilium International Holdings, LLC (9643); Auxilium
           Pharmaceuticals, LLC (6883); Auxilium US Holdings, LLC (8967); Bermuda
           Acquisition Management Limited (N/A); BioSpecifics Technologies LLC (4851);
           Branded Operations Holdings, Inc. (6945); DAVA International, LLC (9945);
           DAVA Pharmaceuticals, LLC (7354); Endo Aesthetics LLC (0218); Endo
           Bermuda Finance Limited (4093); Endo Designated Activity Company (7135);
           Endo Eurofin Unlimited Company (2009); Endo Finance IV Unlimited
           Company (2779); Endo Finance LLC (6481); Endo Finance Operations
           LLC (6355); Endo Finco Inc. (5794); Endo Generics Holdings, Inc. (4834); Endo
           Global Aesthetics Limited (2898); Endo Global Biologics Limited (2735); Endo
           Global Development Limited (4785); Endo Global Finance LLC (7754); Endo
           Global Ventures (4244); Endo Health Solutions Inc. (2871); Endo Innovation
           Valera, LLC (3622); Endo Ireland Finance II Limited (0535); Endo LLC (6640);
           Endo Luxembourg Finance Company I S.à r.l. (3863); Endo Luxembourg Holding
           Company S.à.r.l. (7168); Endo Luxembourg International Financing
           S.à.r.l. (2905); Endo Management Limited (4866); Endo Par Innovation Company,
           LLC (2435); Endo Pharmaceuticals Finance LLC (5768); Endo Pharmaceuticals
           Inc. (5829); Endo Pharmaceuticals Solutions Inc. (7911); Endo Pharmaceuticals
           Valera Inc. (9931); Endo Procurement Operations Limited (7840); Endo TopFin
           Limited (8086); Endo U.S. Inc. (0786); Endo US Holdings Luxembourg I
           S.à.r.l. (7910); Endo Ventures Aesthetics Limited (9967); Endo Ventures Bermuda
           Limited (0688); Endo Ventures Cyprus Limited (1544); Endo Ventures
           Limited (6029); Generics Bidco I, LLC (6905); Generics International
           (US) 2, Inc. (5075);     Generics     International (US), Inc. (6489);   Generics
           International Ventures Enterprises LLC (4685); Hawk Acquisition Ireland
           Limited (4776); Innoteq, Inc. (3381); JHP Acquisition, LLC (7861); JHP Group
           Holdings, LLC (7688); Kali Laboratories 2, Inc. (6751); Kali Laboratories,
           LLC (4898); Luxembourg Endo Specialty Pharmaceuticals Holding
           I S.à r.l. (0601); Moores Mill Properties L.L.C. (9523); Paladin Labs Canadian
           Holding Inc. (N/A); Paladin Labs Inc. (1410); Par Laboratories Europe,
           Ltd. (9597); Par Pharmaceutical 2, Inc. (4895); Par Pharmaceutical Companies,
           Inc. (8301); Par Pharmaceutical Holdings, Inc. (3135); Par Pharmaceutical,
           Inc. (8342); Par Sterile Products, LLC (0105); Par, LLC (1286); Quartz Specialty
           Pharmaceuticals, LLC (5368); Slate Pharmaceuticals, LLC (6201); Timm Medical
           Holdings, LLC (8744); and Vintage Pharmaceuticals, LLC (7882).



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                  15.      Courts in this district have granted similar relief in other chapter 11 cases.

See, e.g., In re JCK Legacy Company, Case No. 20-10418 (MEW) (Bankr. S.D.N.Y. Feb. 14,

2020) [Docket No. 59]; In re Purdue Pharma L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.

Sept. 18, 2019) [Docket No. 59]; In re Barneys N.Y., Inc., No. 19-36300 (CGM) (Bankr. S.D.N.Y.

Aug. 7, 2019) [Docket No. 41]; In re Stearns Holdings, LLC, No. 19-12226 (SCC) (Bankr.

S.D.N.Y. July 10, 2019) [Docket No. 74]; In re New Cotai Holdings, LLC, No. 19-22911 (RDD)

(Bankr. S.D.N.Y. May 10, 2019) [Docket No. 23].2

                  16.      For these reasons, the Debtors submit that the relief requested is necessary

and appropriate, is in the best interest of their respective estates and creditors, and should be

granted in all respects.

                                                    NOTICE

                  17.      Notice of this Motion shall be given to (a) the U.S. Trustee; (b) counsel to

the administrative agent under the Debtors’ prepetition credit agreement; (c) counsel to the

indenture trustee under each of the Debtors’ outstanding bond issuances; (d) Gibson, Dunn &

Crutcher LLP, as counsel to the Ad Hoc First Lien Group (as defined in the First Day Declaration);

(e) Paul, Weiss, Rifkind, Wharton & Garrison LLP, as counsel to the Ad Hoc Cross-Holder Group

(as defined in the First Day Declaration); (f) the U.S. Attorney for the Southern District of New

York; (g) the attorneys general for all 50 states and the District of Columbia; (h) the Debtors’ 50

largest unsecured creditors on a consolidated basis; (i) the Internal Revenue Service; (j) the

Securities and Exchange Commission; (k) the proposed future claimants representative in the

Chapter 11 Cases; (m) any party that has requested notice pursuant to Bankruptcy Rule 2002; and



2
         Because of the voluminous nature of the orders cited herein, they are not attached to this Motion. Copies of
         these orders, however, are available on request.

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(n) any other party entitled to notice pursuant to Local Rule 9013-1(b). The Debtors submit that

no other or further notice need be provided.

                                     NO PRIOR REQUEST

               18.      No prior request for the relief sought herein has been made to this or any

other court.

               [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




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               WHEREFORE, the Debtors respectfully request that this Court (a) enter the

Proposed Order, substantially the form attached hereto as Exhibit A, and (b) grant such other and

further relief as may be just and proper.



 Dated: August 16, 2022
        New York, New York                  SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                                   By:      /s/ Paul D. Leake
                                            Paul D. Leake
                                            Lisa Laukitis
                                            Shana A. Elberg
                                            Evan A. Hill
                                            One Manhattan West
                                            New York, New York 10001
                                            Telephone: (212) 735-3000
                                            Fax: (212) 735-2000

                                            Proposed Counsel for the Debtors
                                            and Debtors in Possession
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                                    Exhibit A

                                 Proposed Order
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


In re
                                             Chapter 11
PAR PHARMACEUTICAL, INC.,
                                             Case No. 22-22546 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                             Chapter 11
ACTIENT PHARMACEUTICALS LLC,
                                             Case No. 22-22547 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                             Chapter 11
70 MAPLE AVENUE, LLC,
                                             Case No. 22-22548 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                             Chapter 11
ENDO INTERNATIONAL plc,
                                             Case No. 22-22549 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                             Chapter 11
ENDO VENTURES LIMITED,
                                             Case No. 22-22550 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
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In re
                                              Chapter 11
ANCHEN INCORPORATED,
                                              Case No. 22-22552 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
GENERICS INTERNATIONAL (US), INC.,
                                              Case No. 22-22554 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
ANCHEN PHARMACEUTICALS, INC.,
                                              Case No. 22-22556 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
DAVA PHARMACEUTICALS, LLC,
                                              Case No. 22-22558 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO PAR INNOVATION COMPANY,
LLC,
                                              Case No. 22-22561 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
GENERICS BIDCO I, LLC,
                                              Case No. 22-22563 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
INNOTEQ, INC.,
                                              Case No. 22-22565 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
JHP ACQUISITION, LLC,
                                              Case No. 22-22567 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
JHP GROUP HOLDINGS, LLC,
                                              Case No. 22-22569 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
KALI LABORATORIES, LLC,
                                              Case No. 22-22572 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
MOORES MILL PROPERTIES L.L.C.,
                                              Case No. 22-22574 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
PAR PHARMACEUTICAL COMPANIES,
INC.,
                                              Case No. 22-22576 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
PAR PHARMACEUTICAL HOLDINGS,
INC.,
                                              Case No. 22-22578 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
PAR STERILE PRODUCTS, LLC,
                                              Case No. 22-22580 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
PAR, LLC,
                                              Case No. 22-22582 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
QUARTZ SPECIALTY
PHARMACEUTICALS, LLC,
                                              Case No. 22-22584 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
VINTAGE PHARMACEUTICALS, LLC,
                                              Case No. 22-22586 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
ACTIENT THERAPEUTICS LLC,
                                              Case No. 22-22588 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ASTORA WOMEN’S HEALTH IRELAND
LIMITED,
                                              Case No. 22-22591 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ASTORA WOMEN’S HEALTH, LLC,
                                              Case No. 22-22594 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
AUXILIUM INTERNATIONAL
HOLDINGS, LLC,
                                              Case No. 22-22596 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
AUXILIUM PHARMACEUTICALS, LLC,
                                              Case No. 22-22598 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
AUXILIUM US HOLDINGS, LLC,
                                              Case No. 22-22601 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
BERMUDA ACQUISITION                           Chapter 11
MANAGEMENT LIMITED,
                                              Case No. 22-22603 (___)

               Debtor.
Fed. Tax Id. No. N/A
In re
                                              Chapter 11
BIOSPECIFICS TECHNOLOGIES LLC,
                                              Case No. 22-22605 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
BRANDED OPERATIONS HOLDINGS,
INC.,
                                              Case No. 22-22608 (___)
               Debtor.

Fed. Tax Id. No. 85‐3936945
In re
                                              Chapter 11
DAVA INTERNATIONAL, LLC,
                                              Case No. 22-22610 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO AESTHETICS LLC,
                                              Case No. 22-22613 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO BERMUDA FINANCE LIMITED,
                                              Case No. 22-22615 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO DESIGNATED ACTIVITY
COMPANY,
                                              Case No. 22-22551 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO EUROFIN UNLIMITED
COMPANY,
                                              Case No. 22-22553 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO FINANCE IV UNLIMITED
COMPANY,
                                              Case No. 22-22555 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO FINANCE LLC,
                                              Case No. 22-22557 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO FINANCE OPERATIONS LLC,
                                              Case No. 22-22559 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO FINCO INC.,
                                              Case No. 22-22560 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO GENERICS HOLDINGS, INC.,
                                              Case No. 22-22562(___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO GLOBAL AESTHETICS LIMITED,
                                              Case No. 22-22564 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO GLOBAL BIOLOGICS LIMITED,
                                              Case No. 22-22566 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO GLOBAL DEVELOPMENT
LIMITED,
                                              Case No. 22-22568 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO GLOBAL FINANCE LLC,
                                              Case No. 22-22570 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO GLOBAL VENTURES,
                                              Case No. 22-22571 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO HEALTH SOLUTIONS INC.,
                                              Case No. 22-22573 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO INNOVATION VALERA, LLC,
                                              Case No. 22-22575 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO IRELAND FINANCE II LIMITED,
                                              Case No. 22-22577 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO LLC,
                                              Case No. 22-22579 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO LUXEMBOURG FINANCE
COMPANY I S.à r.l.,
                                              Case No. 22-22581 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO LUXEMBOURG HOLDING
COMPANY S.à.r.l.,
                                              Case No. 22-22583 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO LUXEMBOURG
INTERNATIONAL FINANCING S.à.r.l.,
                                              Case No. 22-22585 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
ENDO MANAGEMENT LIMITED,
                                              Case No. 22-22587 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO PHARMACEUTICALS FINANCE
LLC,
                                              Case No. 22-22589 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO PHARMACEUTICALS INC.,
                                              Case No. 22-22590 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO PHARMACEUTICALS
SOLUTIONS INC.,
                                              Case No. 22-22592 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO PHARMACEUTICALS VALERA
INC.,
                                              Case No. 22-22593 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO PROCUREMENT OPERATIONS
LIMITED,
                                              Case No. 22-22595 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO TOPFIN LIMITED,
                                              Case No. 22-22597 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
ENDO U.S. INC.,
                                              Case No. 22-22599 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO US HOLDINGS LUXEMBOURG I
S.à.r.l.,
                                              Case No. 22-22600 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO VENTURES AESTHETICS
LIMITED,
                                              Case No. 22-22602 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re
                                              Chapter 11
ENDO VENTURES BERMUDA LIMITED,
                                              Case No. 22-22604 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
ENDO VENTURES CYPRUS LIMITED,
                                              Case No. 22-22606 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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In re
                                              Chapter 11
GENERICS INTERNATIONAL (US) 2,
INC.,
                                              Case No. 22-22607 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
GENERICS INTERNATIONAL
VENTURES ENTERPRISES LLC,
                                              Case No. 22-22609 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
HAWK ACQUISITION IRELAND
LIMITED,
                                              Case No. 22-22611 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
KALI LABORATORIES 2, INC.,
                                              Case No. 22-22612 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
LUXEMBOURG ENDO SPECIALTY
PHARMACEUTICALS HOLDING I
                                              Case No. 22-22614 (___)
S.à r.l.,

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX



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In re
                                              Chapter 11
PALADIN LABS CANADIAN HOLDING
INC.,
                                              Case No. 22-22616 (___)
               Debtor.

No Fed. Tax Id. No. N/A

In re
                                              Chapter 11
PALADIN LABS INC.,
                                              Case No. 22-22617 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
PAR LABORATORIES EUROPE, LTD.,
                                              Case No. 22-22618 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
In re

                                              Chapter 11
PAR PHARMACEUTICAL 2, INC.,
                                              Case No. 22-22619 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX

In re
                                              Chapter 11
SLATE PHARMACEUTICALS, LLC,
                                              Case No. 22-22620 (___)
               Debtor.

Fed. Tax Id. No. XX-XXXXXXX




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    In re
                                                                Chapter 11
    TIMM MEDICAL HOLDINGS, LLC,
                                                                Case No. 22-22621 (___)
                      Debtor.

    Fed. Tax Id. No. XX-XXXXXXX


                 ORDER (I) DIRECTING JOINT ADMINISTRATION
     OF THE CHAPTER 11 CASES PURSUANT TO BANKRUPTCY RULE 1015(b);
(II) WAIVING THE REQUIREMENTS OF SECTION 342(c)(1) OF THE BANKRUPTCY
CODE AND BANKRUPTCY RULE 2002(n); AND (III) GRANTING RELATED RELIEF

                    Upon the motion (the “Motion”)1 of the debtors and debtors in possession

(collectively, the “Debtors”) in the above-captioned cases (the “Chapter 11 Cases”) for the entry

of an order (this “Order”) (a) directing joint administration of the Chapter 11 Cases pursuant to

Bankrupcty Rule 1015(b), (b) waiving the requirements of section 342(c)(1) of the Bankruptcy

Code and Bankruptcy Rule 2002(n), and (c) granting related relief, all as more fully set out in the

Motion; and the Court having reviewed the Motion and the First Day Declaration and having heard

the statements of counsel regarding the relief requested in the Motion at a hearing before the Court

(the “Hearing”); and the Court having found that (a) the Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334(b) and the Amended Standing Order of Reference

M-431, dated January 31, 2012 (Preska, C.J.); (b) this is a core proceeding pursuant to 28 U.S.C.

§ 157(b); (c) venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and (d) due

and proper notice of the Motion and the Hearing was sufficient under the circumstances; and the

Court having determined that the legal and factual bases set forth in the Motion establish just cause

for the relief granted herein; and that such relief is in the best interests of the Debtors, their estates,




1
            Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.

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creditors, and all parties-in-interest; and upon all of the proceedings had before the Court and after

due deliberation and sufficient cause appearing therefor;

                     IT IS HEREBY ORDERED THAT:

                     1.       The Motion is GRANTED solely to the extent set forth herein.

                     2.       Each of the Chapter 11 Cases is consolidated for procedural purposes only

and shall be jointly administered by the Court.

                     3.       Nothing contained in this Order shall be deemed or construed as directing

or otherwise effecting any substantive consolidation of any of the Chapter 11 Cases.

                     4.       The caption of the jointly administered Chapter 11 Cases shall read as

follows:

     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK


    In re
                                                                  Chapter 11
    ENDO INTERNATIONAL plc, et al.,
                                                                  Case No. 22-22549 (___)
                      Debtors.1




                     5.       All original pleadings shall be captioned as indicated in the preceding

decretal paragraph, and all original docket entries shall be made in the case of Endo International

plc, Case No. 22-22549 (___).




1
            The last four digits of Debtor Endo International plc’s tax identification number are 3755. Due to the large
            number of debtors in these chapter 11 cases, a complete list of the debtor entities and the last four digits of
            their federal tax identification numbers is not provided herein. A complete list of such information may be
            obtained on the website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/Endo.
            The location of the Debtors’ service address for purposes of these chapter 11 cases is: 1400 Atwater Drive,
            Malvern, PA 19355.


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               6.      Docket entries shall be made on the docket of each of the Chapter 11 Cases

(except that of Endo International plc) substantially as follows:

               An order has been entered in accordance with Rule 1015(b) of the Federal Rules of
               Bankruptcy Procedure directing the procedural consolidation and joint
               administration of the chapter 11 cases of Endo International plc and its affiliates
               that have concurrently commenced chapter 11 cases. The docket in the chapter 11
               case of Endo International plc (3755), Case No. 22-22549 (___), should be
               consulted for all matters affecting the chapter 11 cases of: 70 Maple Avenue,
               LLC (1491); Actient Pharmaceuticals LLC (7232); Actient Therapeutics
               LLC (2019); Anchen Incorporated (8760); Anchen Pharmaceuticals, Inc. (9179);
               Astora Women’s Health Ireland Limited (5829); Astora Women’s Health,
               LLC (0427); Auxilium International Holdings, LLC (9643); Auxilium
               Pharmaceuticals, LLC (6883); Auxilium US Holdings, LLC (8967); Bermuda
               Acquisition Management Limited (N/A); BioSpecifics Technologies LLC (4851);
               Branded Operations Holdings, Inc. (6945); DAVA International, LLC (9945);
               DAVA Pharmaceuticals, LLC (7354); Endo Aesthetics LLC (0218); Endo
               Bermuda Finance Limited (4093); Endo Designated Activity Company (7135);
               Endo Eurofin Unlimited Company (2009); Endo Finance IV Unlimited
               Company (2779); Endo Finance LLC (6481); Endo Finance Operations
               LLC (6355); Endo Finco Inc. (5794); Endo Generics Holdings, Inc. (4834); Endo
               Global Aesthetics Limited (2898); Endo Global Biologics Limited (2735); Endo
               Global Development Limited (4785); Endo Global Finance LLC (7754); Endo
               Global Ventures (4244); Endo Health Solutions Inc. (2871); Endo Innovation
               Valera, LLC (3622); Endo Ireland Finance II Limited (0535); Endo LLC (6640);
               Endo Luxembourg Finance Company I S.à r.l. (3863); Endo Luxembourg Holding
               Company S.à.r.l. (7168); Endo Luxembourg International Financing
               S.à.r.l. (2905); Endo Management Limited (4866); Endo Par Innovation Company,
               LLC (2435); Endo Pharmaceuticals Finance LLC (5768); Endo Pharmaceuticals
               Inc. (5829); Endo Pharmaceuticals Solutions Inc. (7911); Endo Pharmaceuticals
               Valera Inc. (9931); Endo Procurement Operations Limited (7840); Endo TopFin
               Limited (8086); Endo U.S. Inc. (0786); Endo US Holdings Luxembourg I
               S.à.r.l. (7910); Endo Ventures Aesthetics Limited (9967); Endo Ventures Bermuda
               Limited (0688); Endo Ventures Cyprus Limited (1544); Endo Ventures
               Limited (6029); Generics Bidco I, LLC (6905); Generics International
               (US) 2, Inc. (5075);     Generics    International (US), Inc. (6489);    Generics
               International Ventures Enterprises LLC (4685); Hawk Acquisition Ireland
               Limited (4776); Innoteq, Inc. (3381); JHP Acquisition, LLC (7861); JHP Group
               Holdings, LLC (7688); Kali Laboratories 2, Inc. (6751); Kali Laboratories,
               LLC (4898); Luxembourg Endo Specialty Pharmaceuticals Holding
               I S.à r.l. (0601); Moores Mill Properties L.L.C. (9523); Paladin Labs Canadian
               Holding Inc. (N/A); Paladin Labs Inc. (1410); Par Laboratories Europe,
               Ltd. (9597); Par Pharmaceutical 2, Inc. (4895); Par Pharmaceutical Companies,
               Inc. (8301); Par Pharmaceutical Holdings, Inc. (3135); Par Pharmaceutical,
               Inc. (8342); Par Sterile Products, LLC (0105); Par, LLC (1286); Quartz Specialty

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               Pharmaceuticals, LLC (5368); Slate Pharmaceuticals, LLC (6201); Timm Medical
               Holdings, LLC (8744); and Vintage Pharmaceuticals, LLC (7882).

               7.       The requirements under section 342(c)(1) of the Bankruptcy Code and

Bankruptcy Rule 2002(n) that the case caption and other notices mailed in the Chapter 11 Cases

include the Debtors’ tax identification numbers and other identifying information about the

Debtors are hereby waived.

               8.       The Debtors shall file their monthly operating reports required by the

Operating Guidelines and Reporting Requirements for Debtors in Possession and Trustees, issued

by the U.S. Trustee, in accordance with the applicable Instructions for UST Form 11-MOR:

Monthly Operating Report and Supporting Documentation.

               9.       This Order shall apply to any future filing of any affiliate of the Debtors;

provided, however, that the Debtors shall file notice with the Court identifying the cases of such

affiliates and stating that this Order shall apply to such cases.

               10.      The requirements set forth in Local Rule 9013-1(b) are satisfied by the

contents of the Motion.

               11.      The Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

               12.      This Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.



 Dated: [●], 2022
        [●], New York

                                                     [____________________]
                                                     UNITED STATES BANKRUPTCY JUDGE




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